           Case 2:22-cv-00055-CDS-MDC Document 71 Filed 06/14/24 Page 1 of 1



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 2                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
 3

 4 James Johnson,                                            Case No.: 2:22-cr-00055-CDS-MDC

 5                            Plaintiff                                      Order

 6       v.

 7 C.O. Howard, et al.,

 8                           Defendants

 9

10            In his motion for summary judgment, defendant Howard indicates that Nevada

11 Department of Corrections Administrative Regulation 740, effective April 15, 2022, is included

12 as Exhibit N. ECF No. 54 at 4 n.38. There are two problems with this representation. First, as

13 indicated in the index of exhibits, Exhibit N is the declaration of Karissa Currier, not AR 740.

14 See e.g., Index of exhibits, Def.’s Ex. A, ECF No. 54-1; see also Currier Decl., Def.’s Ex. N, ECF No.

15 54-15. So Howard failed to actually submit AR 740 for the court’s review. In fact, AR 740 is not

16 listed as an exhibit. See e.g., Index of exhibits, Def.’s Ex. A, ECF No. 54-1. Second, the version of

17 AR 740 Howard seemingly intended to include as Exhibit N only governs activity that occurred

18 on April 15, 2022 forward. See ECF No. 54 at 4 n.38 (citing “Exhibit N,” listing the effective date

19 as April 15, 2022). And the applicable grievance period here ranges from June 11, 2021 to April 26,

20 2022.

21            Therefore, Howard is ordered to file versions of AR 740 that were in effect from June 11,

22 2021 to April 26, 2022 as supplemental exhibits to his motion for summary judgment, or file

23 notice that the same AR was in effect during the relevant time period. Howard must do so by

24 June 18, 2024.

25            Dated: June 14, 2024
                                                              ____________________________________
26                                                             Cristina D. Silva
                                                               United States District Judge
